Court of Appeals
of the State of Georgia

                                                                 ATLANTA, August 21, 2024

The Court of Appeals hereby passes the following order

A24A1844. ROBERT EASON v. C. DOUGLAS VANBUREN.


     Upon consideration of the APPELLANT'S motion FOR PERMISSION TO WITHDRAW

THE APPEAL in the above styled case, it is ordered that the motion be hereby GRANTED, and

jurisdiction is released back to the trial court upon receipt of this order.




                                        Court of Appeals of the State of Georgia
                                              Clerk's Office, Atlanta, August 21, 2024.

                                              I certify that the above is a true extract from the minutes
                                        of the Court of Appeals of Georgia.

                                              Witness my signature and the seal of said court hereto
                                        affixed the day and year last above written.

                                                                            , Clerk.
